         Case 5:08-cv-00269-XR Document 212 Filed 01/04/10 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION
____________________________________
                                     §
EMERSON GAITAN FABIAN, et al.,       §
                  Plaintiffs,        §
                                     §
v.                                   §    Civil No. SA-08-CA-0269
                                     §
MAUREEN DUNN, et al.,                §
                  Defendants         §
____________________________________§


                               Plaintiffs’ Request for Clarification


Now Come the Plaintiffs in the above entitled and numbered cause and request clarification as to

the proper scope of their current discovery as follows:

   1. On September 24, 2009 this Court held a hearing on a number of pending legal matters in

       this case. During such hearing, the Court specifically ruled that the Plaintiffs were

       entitled to preliminary discovery regarding the discretionary function exception to the

       Federal Tort Claims Act, (“FTCA”) (Transcript, filed Nov. 25, 2009, Doc. 204 at pp. 57-

       63).

   2. Plaintiffs have set forth FTCA claims for negligent selection and supervision as well as

       the intentional infliction of emotional distress.

   3. The Court ordered Plaintiffs to present proposed discovery on the jurisdictional issue for

       court approval.

   4. In most cases, Plaintiffs’ pleadings would be taken as true, and only narrow discovery

       would be needed on the question of the ORR defendants’ scope of discretion.




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      Case 5:08-cv-00269-XR Document 212 Filed 01/04/10 Page 2 of 5




5. In discussing such exception at the hearing, however, Plaintiffs noted that the Defendant

   United States, in its Motion to Dismiss, had also attached a number of evidentiary

   materials and referenced them throughout their Brief. This created numerous factual

   controversies, and de facto entwined the jurisdictional issue with the core merits of this

   case.

       A. For example, Defendants attached an affidavit signed by Mr. Kenneth Tota which

           makes factual assertions as to what the U.S. Defendants knew about the abuse and

           when they knew it, and that they had taken all reasonable steps to properly and

           timely supervise operations at the Abraxas facility. A TDFPS report insinuated

           that some of the Plaintiffs were never battered at all. In short, the Defendant U.S.

           has placed in controversy the issues of knowledge, notice, negligence and harm.

           These clearly involve the core merits of the case: specifically, the harms to

           Plaintiffs, notice or imputed notice to Defendants, and the adequacy of their

           response thereto.

       B. Plaintiffs vehemently contest Defendant’s version of the facts.

       C. Accordingly, Plaintiffs need discovery on these issues as well in order to fully and

           properly respond to the Motion to Dismiss.

6. Plaintiffs raised this matter at the hearing of September 24, 2009. This Court agreed, and

   authorized discovery on these broader questions. (Transcript, Doc.204 pp.58).

7. Plaintiffs understood that the authorization of full discovery at this stage of the

   proceedings was fully settled at the hearing, especially in light of the discussion in open

   court as to depositions of certain Plaintiffs in Honduras.




                                                                                                  2
      Case 5:08-cv-00269-XR Document 212 Filed 01/04/10 Page 3 of 5




8. However, the parties continue to disagree on the correct interpretation of this Court’s

   September 24, 2009 decision as to the scope of discovery.

9. Plaintiffs have filed proposed jurisdictional discovery with the Court, and the Cornell and

   the U.S. Defendants have both objected to the scope of such requests

10. The Plaintiffs are willing to accommodate the Defendants by limiting their initial

   discovery requests, on the condition that the U.S. defendants’ evidence be struck from the

   record at this time; but in the alternative, they seek to begin full discovery on the merits

   forthwith. They will amend their discovery requests in accordance with clarification from

   this Court.

11. Accordingly, Plaintiffs have moved to strike the U.S. Defendants’ exhibits and references

   thereto at this time, without prejudice to re-filing the same after this Court’s ruling on the

   narrow jurisdictional question regarding the scope of the Defendants’ discretion.

12. If such motion is granted, the Court could thus rule on the discretionary function

   exception based on the facts alleged in the Plaintiffs’ Complaint. Determination of the

   controverted facts of the merits at so early a stage would not be necessary.

13. Thus, if such motion is granted, Plaintiffs are able to greatly narrow their discovery

   requests at this time.

14. If the evidentiary materials are not stricken, then Plaintiffs will need full discovery on the

   merits, as discussed in the hearing of September 24, 2009. This would entail even broader

   discovery than the materials sought in Plaintiffs initial requests.

15. The parties have been unable to amicably resolve their differing understandings of this

   Court’s decision regarding discovery on the merits. This has prevented resolution of the

   various objections raised by the Defendants.




                                                                                                  3
           Case 5:08-cv-00269-XR Document 212 Filed 01/04/10 Page 4 of 5




     16. Plaintiffs therefore seek clarification from this court as to whether or not they may

        proceed with full discovery on the merits at this time, or if the Court’s consideration of

        the jurisdictional issue will be limited to the Plaintiffs’ factual pleadings.

     17. If full discovery on the merits is authorized now, then the Plaintiffs ask this Court to issue

        a schedule setting forth applicable deadlines for the conduct of such discovery.



Wherefore Plaintiffs pray that this Court:

Order the parties to enter into full discovery on the merits at this time, and issue a scheduling

order regarding such discovery,

OR

Strike the U.S. Defendants’ evidentiary materials from consideration for purposes of determining

the U.S. Motion to Dismiss,

AND

Grant the Plaintiffs leave to amend and/or supplement their discovery requests in accordance

with its Order of Clarification.

                                                                Respectfully Submitted,

                                                                /s/Jennifer K. Harbury_______

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                                     Certificate of Conference:



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         Case 5:08-cv-00269-XR Document 212 Filed 01/04/10 Page 5 of 5




I, Jennifer K. Harbury hereby certify that on this 30th day of December, 2009 I
communicated with counsel for Cornell via email regarding this Motion. No response has
been received as of the date of this filing. An email was served upon the United States’
Counsel on 4 January 2010, and Mr. Jennings does not object to receiving clarification
from this Court as to the scope of discovery.

/S/_______
Jennifer K. Harbury



                                     Certificate of Service

        I, Jennifer K. Harbury, hereby certify that on this 4th day of January, 2010, I served a
copy of the foregoing upon counsel for the Defendants through electronic filing with this Court
as follows:

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                                             /s/Jennifer K. Harbury____
                                                     Jan. 4, 2010




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